Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 1 of 20




                       EXHIBIT 19
  Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 2 of 20




       Industry Types Subject to Review by Claims Administrator for Potential
                                  Moratoria Losses
  I.    Industry Types Subject to Automatic Review by Claims Administrator for Potential
        Moratoria Losses

Businesses the Claims Administrator determines fall within the following codes and descriptions marked
with an “x,” shall be routed by the Claims Administrator to a team dedicated to the evaluation of
business economic loss claims for potential moratoria losses. Claimants shall be required to provide
supplemental information in order for Claims Administrator to conduct this review.

 237990 ‐ Other Heavy and Civil Engineering Construction
        This industry comprises establishments primarily engaged in heavy and engineering construction projects
        (excluding highway, street, bridge, and distribution line construction). The work performed may include new work,
        reconstruction, rehabilitation, and repairs. Specialty trade contractors are included in this group if they are
        engaged in activities primarily related to engineering construction projects (excluding highway, street, bridge,
        distribution line, oil and gas structure, and utilities building and structure construction). Construction projects
        involving water resources (e.g., dredging and land drainage), development of marine facilities, and projects
        involving open space improvement (e.g., parks and trails) are included in this industry.
                Anchored earth retention contractors
                Athletic field (except stadium) construction
                Avalanche, rockslide, or mudslide protection construction
                Breakwater construction
                Bridle path construction
                Bulkhead wall or embarkment construction
                Caisson (i.e., marine or pneumatic structures) construction
        X       Canal construction
        X       Channel construction
                Cofferdam construction
                Construction management, dam
        X       Construction management, marine structure
                Construction management, mass transit
                Construction management, outdoor recreation facility
                Construction management, tunnel
        X       Cribbing (i.e., shore protection), construction
        X       Dam construction
        X       Dike and other flood control structure construction
        X       Dock construction
        X       Drainage canal and ditch construction
        X       Drainage project construction
        X       Dredging (e.g., canal, channel, ditch, waterway)
                Drive‐in movie facility construction
                Earth retention system construction
                Earth‐filled dam construction
                Electricity generating plant, hydroelectric, construction
        X       Embankment construction
                Farm drainage tile installation
                Flood control project construction


                                                      1/19


                                                                                                                          026613
 Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 3 of 20



        X       Floodway canal and ditch construction
                Gabion construction
                Golf course construction
       X        Harbor construction
       X        Horizontal drilling (e.g., underground cable, pipeline, sewer installation)
                Hydroelectric generating facility construction
                Ice rink (except indoor) construction
                Jetty construction
                Land drainage contractors
       X        Levee construction
                Light rail system construction
       X        Lock and waterway construction
       X        Marine construction
                Microtunneling contractors
                Missile facility construction
                Monorail construction
                Nuclear waste disposal site construction
                Outdoor recreation facility construction
                Park and recreational open space improvement construction
       X        Pier construction
       X        Pile driving, marine
       X        Pipe‐jacking contractors
                Play ground construction
       X        Port facility construction
                Power plant, hydroelectric, construction
                Railroad construction
                Railway construction (e.g., interlocker, roadbed, signal, track)
                Railway roadbed construction
                Recreation area, open space, construction
                Recreational vehicle park construction
                Retaining walls, anchored (e.g., with piles, soil nails, tieback anchors), construction
                Revetment construction
                Riprap installation
       X        Rock removal, underwater
       X        Seawall, wave protection, construction
                Sediment control system construction
                Ski tow construction
       X        Spillway, floodwater, construction
                Sports field construction
                Streetcar line construction
                Subway construction
                Tennis courts, outdoor, construction
                Timber removal, underwater
                Trail construction
       X        Trenching, underwater
       X        Tunnel construction
       X        Wharf construction
238910 ‐ Site Preparation Contractors




                                                        2/19


                                                                                                          026614
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 4 of 20



    This industry comprises establishments primarily engaged in site preparation activities, such as excavating and
    grading, demolition of buildings and other structures, septic system installation, and house moving. Earth moving
    and land clearing for all types of sites (e.g., building, nonbuilding, mining) is included in this industry.
    Establishments primarily engaged in construction equipment rental with operator (except cranes) are also
    included.
            Aerial or picker truck, construction, rental with operator
            Backfilling, construction
            Backhoe rental with operator
            Blast hole drilling (except mining)
            Blasting, building demolition
            Blasting, construction site
            Boring, for building construction
            Building demolition
            Bulldozer rental with operator
            Caisson (i.e., drilled building foundations) construction
            Cesspool construction
            Concrete breaking and cutting for demolition
            Construction equipment (except crane) rental with operator
    X       Core drilling and test boring for construction
            Crawler tractor rental with operator
            Cutting new rights of way
            Demolition contractor
            Demolition, building and structure
            Dewatering contractors
            Digging foundations
            Dirt moving for construction
    X       Dismantling engineering structures (e.g., oil storage tank)
            Drainage system (e.g., cesspool, septic tank) installation
            Drilled pier (i.e., for building foundations) contractors
            Drilled shaft (i.e., drilled building foundations) construction
            Dry well construction
            Equipment rental (except crane), construction, with operator
            Excavating, earthmoving or land clearing, mining (except overburden removal at open pit mine sites or
            quarries)
            Excavating, earthmoving, or land clearing contractors
            Excavation contractors
            Foundation digging (i.e., excavation)
            Foundation drilling contractors
            Grading construction sites
            Grave excavation contractors
            Ground thawing for construction site digging
            House demolishing
            House razing
            Hydrodemolition (i.e., demolition with pressurized water) contractors
            Land clearing
            Land leveling contractors
            Line slashing or cutting (except maintenance)
            Machinery, construction (except cranes), rental with operator
    X       Mine site preparation and related construction activities, construction contractors
            Pile driving, building foundation
            Piling (i.e., bored, cast‐in‐place, drilled), building foundation, contractors

                                                 3/19


                                                                                                                        026615
 Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 5 of 20



               Power shovel, construction, rental with operator
               Power, communication and pipe line right of way clearance (except maintenance)
               Right of way cutting (except maintenance)
               Septic system contractors
               Septic tank and weeping tile installation
               Soil compacting
               Soil test drilling
               Test boring for construction
               Trenching (except underwater)
       X       Underground tank (except hazardous material) removal
               Weeping tile installation
               Wrecking, building or other structure
325998 ‐ All Other Miscellaneous Chemical Product and Preparation Manufacturing
       This U.S. industry comprises establishments primarily engaged in manufacturing chemical products (except basic
       chemicals, resins, synthetic rubber; cellulosic and noncellulosic fiber and filaments; pesticides, fertilizers, and other
       agricultural chemicals; pharmaceuticals and medicines; paints, coatings and adhesives; soap, cleaning compounds,
       and toilet preparations; printing inks; explosives; custom compounding of purchased resins; and photographic
       films, papers, plates, and chemicals).
                Activated carbon or charcoal manufacturing
        X       Additive preparations for gasoline (e.g., antiknock preparations, detergents, gum inhibitors) manufacturing
                Aerosol can filling on a job order or contract basis
                Aerosol packaging services
                Anise oil manufacturing
                Antifreeze preparations manufacturing
                Antiscaling compounds manufacturing
                Bay oil manufacturing
                Brake fluid, synthetic, manufacturing
                Caps for toy pistols manufacturing
                Capsules, gelatin, empty, manufacturing
                Carbon, activated, manufacturing
                Carburetor cleaners manufacturing
                Cat litter manufacturing
                Cedar oil manufacturing
                Charcoal, activated, manufacturing
                Citronella oil manufacturing
                Clove oil manufacturing
        X       Concrete additive preparations (e.g., curing, hardening) manufacturing (If used offshore)
                Correction fluids (i.e., typewriter) manufacturing
                Crankcase additive preparations manufacturing
        X       Cutting oils, synthetic, manufacturing
                Defoamers and antifoaming agents manufacturing
                Degreasing preparations for machinery parts manufacturing
                Deicing preparations manufacturing
                Desalination kits manufacturing
                Distilled water manufacturing
                Drawing inks manufacturing
        X       Drilling mud compounds, conditioners, and additives (except bentonites) manufacturing
                Dye preparations, clothing, household‐type, manufacturing
                Embalming fluids manufacturing
                Engine degreasers manufacturing


                                                        4/19


                                                                                                                              026616
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 6 of 20



         Engine starting fluids manufacturing
         Essential oils manufacturing
         Eucalyptus oil manufacturing
         Fire extinguisher chemical preparations manufacturing
         Fire retardant chemical preparations manufacturing
         Fireworks manufacturing
         Flares manufacturing
         Fluxes (e.g., brazing, galvanizing, soldering, welding) manufacturing
         Foundry core oil, wash, and wax manufacturing
         Gelatin (except dessert preparations) manufacturing
         Gelatin capsules, empty, manufacturing
         Grapefruit oil manufacturing
         Greases, synthetic lubricating, manufacturing
    X    Hydraulic fluids, synthetic, manufacturing
         Incense manufacturing
         Indelible inks manufacturing
         India inks manufacturing
         Industrial salt manufacturing
         Inhibitors (e.g., corrosion, oxidation, polymerization) manufacturing
         Inks, writing, manufacturing
         Insulating oils manufacturing
         Lemon oil manufacturing
         Lighter fluids (e.g., charcoal, cigarette) manufacturing
         Lime oil manufacturing
         Lubricating oils and greases, synthetic, manufacturing
         Matches and match books manufacturing
         Motor oils, synthetic, manufacturing
         Napalm manufacturing
    X    Oil additive preparations manufacturing
         Oils (e.g., cutting, lubricating), synthetic, manufacturing
         Oils, lubricating, synthetic, manufacturing
         Orange oil manufacturing
         Orris oil manufacturing
         Ossein manufacturing
         Packer's fluids manufacturing
         Penetrating fluids, synthetic, manufacturing
         Peppermint oil manufacturing
         Pyrotechnics (e.g., flares, flashlight bombs, signals) manufacturing
         Radiator additive preparations manufacturing
         Recycling services for degreasing solvents (e.g., engine, machinery) manufacturing
         Retarders (e.g., flameproofing agents, mildewproofing agents) manufacturing
         Rubber processing preparations (e.g., accelerators, stabilizers) manufacturing
         Rust preventive preparations manufacturing
         Salt (except table) manufacturing
         Soil testing kits manufacturing
         Spearmint oil manufacturing
         Stamp pad ink manufacturing
         Sugar substitutes (i.e., synthetic sweeteners blended with other ingredients) made from purchased
         synthetic sweeteners
         Swimming pool chemical preparations manufacturing


                                              5/19


                                                                                                             026617
 Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 7 of 20



               Tint and dye preparations, household‐type (except hair), manufacturing
               Tire inflators, aerosol, manufacturing
               Transmission fluids, synthetic, manufacturing
               Water, distilled, manufacturing
               Wintergreen oil manufacturing
               Writing inks manufacturing
331111 ‐ Iron and Steel Mills
       This U.S. industry comprises establishments primarily engaged in one or more of the following: (1) direct reduction
       of iron ore; (2) manufacturing pig iron in molten or solid form; (3) converting pig iron into steel; (4) making steel;
       (5) making steel and manufacturing shapes (e.g., bar, plate, rod, sheet, strip, wire); and (6) making steel and
       forming tube and pipe.
               Armor plate made in iron and steel mills
               Axles, rolled or forged, made in iron and steel mills
               Balls, steel, made in iron and steel mills
               Bars, concrete reinforcing (rebar) made in steel mills
               Bars, iron, made in iron and steel mills
               Bars, steel, made in iron and steel mills
               Billets, steel, made in iron and steel mills
               Blackplate made in iron and steel mills
               Blast furnaces
               Blooms, steel, made in iron and steel mills
               Car wheels, rolled steel, made in iron and steel mills
               Coke oven products made in iron and steel mills
               Concrete reinforcing bar (rebar) made in iron and steel mills
               Direct reduction of iron ore
               Electrometallurgical steel manufacturing
               Fence posts, iron or steel, made in iron and steel mills
               Flakes, iron or steel, made in iron and steel mills
               Flats, iron or steel, made in iron and steel mills
               Forgings, iron or steel, made in iron and steel mills
               Frogs, iron or steel, made in iron and steel mills
               Galvanizing metals and metal formed products made in iron and steel mills
               Gun forgings made in iron and steel mills
               Hoops made in iron and steel mills
               Hoops, galvanized, made in iron and steel mills
               Hot‐rolling iron or steel products in iron and steel mills
               Ingot made in iron and steel mills
               Iron ore recovery from open hearth slag
               Iron sinter made in iron and steel mills
               Iron, pig, manufacturing
               Mesh, wire, made in iron and steel mills
               Mini‐mills, steel
               Nut rods, iron or steel, made in iron and steel mills
               Paste, iron or steel, made in iron and steel mills
               Pig iron manufacturing
               Pilings, iron or steel plain sheet, made in iron and steel mills
               Pipe, iron or steel, made in iron and steel mills
               Plate, iron or steel, made in iron and steel mills
               Powder, iron or steel, made in iron and steel mills
               Rail joints and fastenings made in iron and steel mills


                                                      6/19


                                                                                                                           026618
 Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 8 of 20



               Railroad crossings, iron or steel, made in iron and steel mills
               Rails rerolled or renewed in iron and steel mills
               Rails, iron or steel, made in iron and steel mills
               Rods, iron or steel, made in iron and steel mills
               Rounds, tube, steel, made in iron and steel mills
               Sheet pilings, plain, iron or steel, made in iron and steel mills
               Sheets, steel, made in iron and steel mills
               Shell slugs, steel, made in iron and steel mills
               Skelp, iron or steel, made in iron and steel mills
               Slab, steel, made in iron and steel mills
               Spike rods made in iron and steel mills
               Sponge iron
               Stainless steel made in iron and steel mills
               Steel balls made in iron and steel mills
               Steel manufacturing
               Steel mill products (e.g., bar, plate, rod, sheet, structural shapes) manufacturing
               Steel mills
               Steel, from pig iron, manufacturing
               Strip, galvanized iron or steel, made in iron and steel mills
               Strip, iron or steel, made in iron and steel mills
       X       Structural shapes, iron or steel, made in iron and steel mills
               Superalloys, iron or steel, manufacturing
               Template, made in iron and steel mills, manufacturing
               Terneplate made in iron and steel mills
               Ternes, iron or steel, long or short, made in iron and steel mills
               Tie plates, iron or steel, made in iron and steel mills
               Tin‐free steel made in iron and steel mills
               Tinplate made in iron and steel mills
               Tool steel made in iron and steel mills
       X       Tube rounds, iron or steel, made in iron and steel mills
       X       Tube, iron or steel, made in iron and steel mills
       X       Tubing, seamless steel, made in iron and steel mills
               Tubing, wrought iron or steel, made in iron and steel mills
       X       Well casings, iron or steel, made in iron and steel mills
               Wheels, car and locomotive, iron or steel, made in iron and steel mills
               Wire products, iron or steel, made in iron and steel mills
       X       Wrought iron or steel pipe and tubing made in iron and steel mills
331210 ‐ Iron and Steel Pipe and Tube Manufacturing from Purchased Steel
       This industry comprises establishments primarily engaged in manufacturing welded, riveted, or seamless pipe and
       tube from purchased iron or steel.
               Boiler tubes, wrought, made from purchased iron
               Conduit, welded and lock joint, made from purchased iron or steel
       X       Pipe (e.g., heavy riveted, lock joint, seamless, welded) made from purchased iron or steel
       X       Tube (e.g., heavy riveted, lock joint, seamless, welded) made from purchased iron or steel
               Tubing, mechanical and hypodermic sizes, cold‐drawn stainless steel, made from purchased steel
       X       Well casings (e.g., heavy riveted, lock joint, welded, wrought) made from purchased iron or steel
332410 ‐ Power Boiler and Heat Exchanger Manufacturing
       This industry comprises establishments primarily engaged in manufacturing power boilers and heat exchangers.
       Establishments in this industry may perform installation in addition to manufacturing power boilers and heat
       exchangers.


                                                    7/19


                                                                                                                     026619
 Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 9 of 20



               Aftercoolers (i.e., heat exchangers) manufacturing
               Barometric condensers manufacturing
               Boiler casings manufacturing
               Boilers, power, manufacturing
               Condenser boxes, metal, manufacturing
               Condensers, steam, manufacturing
               Economizers (i.e., power boiler accessory) manufacturing
               Exchangers, heat, manufacturing
               Heat exchangers manufacturing
               Intercooler shells manufacturing
       X       Marine power boilers manufacturing
               Nuclear reactor steam supply systems manufacturing
               Nuclear reactors control rod drive mechanisms manufacturing
               Nuclear reactors manufacturing
               Power boilers manufacturing
               Reactors, nuclear, manufacturing
               Stationary power boilers manufacturing
               Steam condensers manufacturing
332420 ‐ Metal Tank (Heavy Gauge) Manufacturing
       This industry comprises establishments primarily engaged in cutting, forming, and joining heavy gauge metal to
       manufacture tanks, vessels, and other containers.
       X       Absorbers, gas, heavy gauge metal, manufacturing
       X       Accumulators, industrial pressure vessels, heavy gauge metal, manufacturing
               Acetylene cylinders, heavy gauge metal, manufacturing
               Air receiver tanks, heavy gauge metal, manufacturing
               Annealing vats, heavy gauge metal, manufacturing
               Autoclaves, industrial‐type, heavy gauge metal, manufacturing
       X       Bulk storage tanks, heavy gauge metal, manufacturing (On Shore)
       X       Caissons, underwater work, heavy gauge metal, manufacturing
       X       Columns, fractionating, heavy gauge metal, manufacturing
               Cryogenic tanks, heavy gauge metal, manufacturing
               Cylinders, pressure, heavy gauge metal, manufacturing
               Digesters, industrial‐type, heavy gauge metal, manufacturing
               Farm storage tanks, heavy gauge metal, manufacturing
               Fermention tanks, heavy gauge metal tanks, manufacturing
       X       Gas storage tanks, heavy gauge metal, manufacturing
               Kettles, heavy gauge metal, manufacturing
       X       Liquefied petroleum gas (LPG) cylinders manufacturing
               Liquid oxygen tanks manufacturing
               Nuclear waste casks, heavy gauge metal, manufacturing
       X       Oil storage tanks, heavy gauge metal, manufacturing
       X       Petroleum storage tanks, heavy gauge metal, manufacturing
               Pots (e.g., annealing, melting, smelting), heavy gauge metal, manufacturing
               Retorts, heavy gauge metal, manufacturing
               Septic tanks, heavy gauge metal, manufacturing
               Smelting pots and retorts manufacturing
               Stills, heavy gauge metal, manufacturing
       X       Storage tanks, heavy gauge metal, manufacturing
       X       Tanks, heavy gauge metal, manufacturing
       X       Vacuum tanks, heavy gauge metal, manufacturing


                                                    8/19


                                                                                                                        026620
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 10 of 20



               Vats, heavy gauge metal, manufacturing
               Vessels, heavy gauge metal, manufacturing
               Water tanks, heavy gauge metal, manufacturing
332911 ‐ Industrial Valve Manufacturing
       This U.S. industry comprises establishments primarily engaged in manufacturing industrial valves and valves for
       water works and municipal water systems.
               Angle valves, industrial‐type, manufacturing
               Automatic (i.e., controlling‐type, regulating) valves, industrial‐type, manufacturing
               Ball valves, industrial‐type, manufacturing
               Boiler gauge cocks, industrial‐type, manufacturing
               Butterfly valves, industrial‐type, manufacturing
               Check valves, industrial‐type, manufacturing
               Compressed gas cylinder valves manufacturing
               Control valves, industrial‐type, manufacturing
               Cross valves, industrial‐type, manufacturing
               Fire hydrant valves manufacturing
               Fire hydrants, complete, manufacturing
               Gas valves, industrial‐type, manufacturing
               Gate valves, industrial‐type, manufacturing
               Globe valves, industrial‐type, manufacturing
               Nuclear application valves manufacturing
               Plug valves, industrial‐type, manufacturing
               Pressure control valves (except fluid power), industrial‐type, manufacturing
               Safety (i.e., pop‐off) valves, industrial‐type, manufacturing
               Solenoid valves (except fluid power), industrial‐type, manufacturing
               Steam traps, industrial‐type, manufacturing
               Stop valves, industrial‐type, manufacturing
               Straightway (i.e., Y‐type) valves, industrial‐type, manufacturing
               Thermostatic traps, industrial‐type, manufacturing
               Valves for nuclear applications manufacturing
               Valves for water works and municipal water systems manufacturing
       X       Valves, industrial‐type (e.g., check, gate, globe, relief, safety), manufacturing
               Waterworks and municipal water system valves manufacturing
332996 ‐ Fabricated Pipe and Pipe Fitting Manufacturing
       This U.S. industry comprises establishments primarily engaged in fabricating, such as cutting, threading and
       bending metal pipes and pipe fittings made from purchased metal pipe.

       X      Bends, pipe, made from purchased metal pipe
       X      Coils, pipe, made from purchased metal pipe
       X      Couplings, pipe, made from purchased metal pipe
       X      Fabricated pipe and pipe fittings made from purchased pipe
       X      Manifolds, pipe, made from purchased metal pipe
       X      Nipples, metal, made from purchased pipe
       X      Pipe and pipe fittings made from purchased metal pipe
       X      Pipe couplings made from purchased metal pipe
       X      Pipe fabricating (i.e., bending, cutting, threading) made from purchased metal pipe
       X      Pipe headers made from purchased metal pipe
       X      Tubes made from purchased metal pipe
       X      Wrought iron or steel pipe and tubing made from purchased metal pipe
333911 ‐ Pump and Pumping Equipment Manufacturing


                                                     9/19


                                                                                                                         026621
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 11 of 20



        This U.S. industry comprises establishments primarily engaged in manufacturing general purpose pumps and
        pumping equipment (except fluid power pumps and motors), such as reciprocating pumps, turbine pumps,
        centrifugal pumps, rotary pumps, diaphragm pumps, domestic water system pumps, oil well and oil field pumps
        and sump pumps.
                Centrifugal pumps manufacturing
        X       Oil‐well and oil‐field pumps manufacturing
        X       Pumps (except fluid power), general purpose, manufacturing
                Pumps for railroad equipment lubrication systems manufacturing
       X        Pumps, industrial and commercial‐type, general purpose, manufacturing
       X        Pumps, oil field or well, manufacturing
                Pumps, sump or water, residential‐type, manufacturing
                Sump pumps, residential‐type, manufacturing
336611 ‐ Ship Building and Repairing
       This U.S. industry comprises establishments primarily engaged in operating a shipyard. Shipyards are fixed facilities
       with drydocks and fabrication equipment capable of building a ship, defined as watercraft typically suitable or
       intended for other than personal or recreational use. Activities of shipyards include the construction of ships, their
       repair, conversion and alteration, the production of prefabricated ship and barge sections, and specialized services,
       such as ship scaling.
                Barge building
                Cargo ship building
                Container ship building
                Dredge building
       X        Drilling and production platforms, floating, oil and gas, building
                Drydock, floating, building
                Ferryboat building
                Fireboat building
                Fishing boat, commercial, building
                Hydrofoil vessel building and repairing in shipyard
                Naval ship building
       X        Oil and gas offshore floating platforms manufacturing
                Passenger ship building
                Patrol boat building
                Sailing ships, commercial, manufacturing
                Ship dismantling at shipyards
                Ship repair done in a shipyard
                Ship scaling services done at a shipyard
                Ships (i.e., not suitable or intended for personal use) manufacturing
                Shipyard (i.e., facility capable of building ships)
                Submarine building
                Towboat building and repairing
                Tugboat building
                Yachts built in shipyards
423830 ‐ Industrial Machinery and Equipment Merchant Wholesalers
       This industry comprises establishments primarily engaged in the merchant wholesale distribution of specialized
       machinery, equipment, and related parts generally used in manufacturing, oil well, and warehousing activities.
               Bakery machinery and equipment merchant wholesalers
               Beverage bottling machinery merchant wholesalers
               Blowers, industrial, merchant wholesalers
               Bottling machinery and equipment merchant wholesalers
               Cement‐making machinery merchant wholesalers

                                                      10/19


                                                                                                                           026622
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 12 of 20



         Chainsaws merchant wholesalers
         Chemical industries machinery and equipment merchant wholesalers
         Compressors (except air‐conditioning, refrigeration) merchant wholesalers
         Condensing units (except air‐conditioning, refrigeration) merchant wholesalers
         Conveying equipment (except farm) merchant wholesalers
         Cranes, industrial, merchant wholesalers
         Distillery machinery merchant wholesalers
         Elevators merchant wholesalers
         Engines, internal combustion (except aircraft, automotive), merchant wholesalers
         Engraving machinery merchant wholesalers
         Escalators merchant wholesalers
         Fans, industrial, merchant wholesalers
         Fluid‐power transmission equipment merchant wholesalers
         Food‐processing machinery and equipment merchant wholesalers
         Forklift trucks (except log) merchant wholesalers
         Foundry machinery and equipment merchant wholesalers
         Furnaces, industrial process, merchant wholesalers
         General‐purpose industrial machinery and equipment merchant wholesalers
         Handtools, machinists' precision, merchant wholesalers
         Hoists (except automotive) merchant wholesalers
         Hydraulic power transmission equipment merchant wholesalers
         Hydraulic pumps and parts merchant wholesalers
         Industrial machinery and equipment (except electrical) merchant wholesalers
         Industrial trucks, tractors, or trailers merchant wholesalers
         Instruments (except electrical) (e.g., controlling, indicating, recording) merchant wholesalers
         Internal combustion engines (except aircraft, nondiesel automotive, nondiesel truck) merchant wholesalers
         Kilns, industrial, merchant wholesalers
         Ladders merchant wholesalers
         Lift trucks, industrial, merchant wholesalers
         Machine tools and accessories merchant wholesalers
         Machinists' precision measuring tools merchant wholesalers
         Materials handling machinery and equipment merchant wholesalers
         Measuring and testing equipment (except automotive) merchant wholesalers
         Metalworking machinery and equipment merchant wholesalers
         Meters (except electrical, parking) merchant wholesalers
    X    Mining machinery and equipment, petroleum, merchant wholesalers
    X    Oil well machinery and equipment merchant wholesalers
    X    Oil well supply houses merchant wholesalers
         Ovens, industrial, merchant wholesalers
         Packing machinery and equipment merchant wholesalers
         Pallets and skids merchant wholesalers
         Paper and pulp industries manufacturing machinery merchant wholesalers
         Patterns (except shoe), industrial, merchant wholesalers
    X    Pipeline machinery and equipment merchant wholesalers
         Pistons, hydraulic and pneumatic, merchant wholesalers
         Plastics industries machinery, equipment, and supplies merchant wholesalers
    X    Pneumatic pumps and parts merchant wholesalers
    X    Pollution control equipment (except air) merchant wholesalers
         Printing trade machinery, equipment, and supplies merchant wholesalers
    X    Pumps and pumping equipment, industrial‐type, merchant wholesalers


                                             11/19


                                                                                                                026623
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 13 of 20



        X       Refinery machinery and equipment merchant wholesalers
                Sawmill machinery, equipment, and supplies merchant wholesalers
                Sewing machines, industrial, merchant wholesalers
                Shoe manufacturing and repairing machinery merchant wholesalers
                Smelting machinery and equipment merchant wholesalers
                Special purpose industrial machinery and equipment merchant wholesalers
                Spray painting equipment, industrial‐type, merchant wholesalers
                Stackers, industrial, merchant wholesalers
                Testing and measuring equipment, electrical (except automotive), merchant wholesalers
                Textile machinery and equipment merchant wholesalers
                Tire recapping machinery merchant wholesalers
                Tools, machinists' precision, merchant wholesalers
                Tractors, industrial, merchant wholesalers
                Trailers, industrial, merchant wholesalers
                Trucks, industrial, merchant wholesalers
                Turbines (except transportation) merchant wholesalers
                Twist drills merchant wholesalers
                Valves, hydraulic and pneumatic, merchant wholesalers
                Water treatment equipment, industrial, merchant wholesalers
                Welding machinery and equipment merchant wholesalers
                Winches merchant wholesalers
                Woodworking machinery merchant wholesalers
424690 ‐ Other Chemical and Allied Products Merchant Wholesalers
       This industry comprises establishments primarily engaged in the merchant wholesale distribution of chemicals and
       allied products (except agricultural and medicinal chemicals, paints and varnishes, fireworks, and plastics materials
       and basic forms and shapes).
               Acids merchant wholesalers
               Adhesives and sealants merchant wholesalers
               Alcohol, industrial, merchant wholesalers
               Alkalies merchant wholesalers
               Ammonia (except fertilizer material) merchant wholesalers
               Antifreeze merchant wholesalers
               Aromatic chemicals merchant wholesalers
               Automotive chemicals (except lubricating greases, lubrication oils) merchant wholesalers
               Bleaches merchant wholesalers
               Carbon black merchant wholesalers
               Caulking materials merchant wholesalers
               Caustic soda merchant wholesalers
        X      Chemical additives (e.g., concrete, food, fuel, oil) merchant wholesalers
               Chemical gases merchant wholesalers
               Chemicals (except agriculture) (e.g., automotive, household, industrial, photographic) merchant
               wholesalers
               Cleaning compounds and preparations merchant wholesalers
               Coal tar products, primary and intermediate, merchant wholesalers
               Compressed gases (except LP gas) merchant wholesalers
        X      Concrete additives merchant wholesalers
               Cyclic crudes and intermediates merchant wholesalers
               Deodorants (except personal) merchant wholesalers
               Detergents merchant wholesalers
        X      Drilling muds merchant wholesalers


                                                     12/19


                                                                                                                           026624
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 14 of 20



               Dry ice merchant wholesalers
               Dyes, industrial, merchant wholesalers
               Dyestuffs merchant wholesalers
               Essential oils merchant wholesalers
               Explosives (except ammunition, fireworks) merchant wholesalers
               Fibers, manmade, merchant wholesalers
               Fire extinguisher preparations merchant wholesalers
               Gases, compressed and liquefied (except liquefied petroleum gas), merchant wholesalers
               Gelatin, inedible, merchant wholesalers
               Glues merchant wholesalers
               Gum and wood chemicals merchant wholesalers
               Ice, dry, merchant wholesalers
               Industrial chemicals merchant wholesalers
               Industrial gases merchant wholesalers
               Industrial salts merchant wholesalers
               Inorganic chemicals merchant wholesalers
               Janitorial chemicals merchant wholesalers
               Laundry soap, chips, and powder, merchant wholesalers
               Liquefied gases (except LP) merchant wholesalers
               Man‐made fibers merchant wholesalers
               Mastics (except construction) merchant wholesalers
               Metal cyanides merchant wholesalers
               Oil additives merchant wholesalers
       X       Oil drilling muds merchant wholesalers
               Organic chemicals merchant wholesalers
               Pesticides (except agricultural) merchant wholesalers
               Polishes (e.g., automobile, furniture, metal, shoe, stove) merchant wholesalers
               Resins, synthetic rubber, merchant wholesalers
               Rosins merchant wholesalers
               Salts, industrial, merchant wholesalers
               Sealants merchant wholesalers
               Sulfuric acid merchant wholesalers
               Surface active agents merchant wholesalers
               Synthetic rubber merchant wholesalers
               Turpentine merchant wholesalers
               Water softening compounds merchant wholesalers
               Waxes (except petroleum) merchant wholesalers
               Welding gases merchant wholesalers
               Wood treating preparations merchant wholesalers
425120 ‐ Wholesale Trade Agents and Brokers
       This industry comprises wholesale trade agents and brokers acting on behalf of buyers or sellers in the wholesale
       distribution of goods. Agents and brokers do not take title to the goods being sold but rather receive a commission
       or fee for their service. Agents and brokers for all durable and nondurable goods are included in this industry.
              Agents and brokers, durable goods, wholesale trade
              Agents and brokers, nondurable goods, wholesale trade
              Automobile auctions, wholesale
              Durable goods agents and brokers, wholesale trade
              Nondurable goods agents and brokers, wholesale trade
       X      Petroleum brokers
481211 ‐ Nonscheduled Chartered Passenger Air Transportation


                                                    13/19


                                                                                                                         026625
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 15 of 20



       This U.S. industry comprises establishments primarily engaged in providing air transportation of passengers or
       passengers and cargo with no regular routes and regular schedules.
       X        Air passenger carriers, nonscheduled
       X        Air taxi services
       X        Aircraft charter services, passenger
       X        Charter air passenger services
       X        Helicopter passenger carriers (except scenic, sightseeing), nonscheduled
       X        Nonscheduled air passenger transportation
       X       Passenger air transportation, nonscheduled
       X       Passenger carriers, air, nonscheduled
483113 ‐ Coastal and Great Lakes Freight Transportation
       This U.S. industry comprises establishments primarily engaged in providing water transportation of cargo in coastal
       waters, on the Great Lakes System, or deep seas between ports of the United States, Puerto Rico, and United
       States island possessions or protectorates. Marine transportation establishments using the facilities of the St.
       Lawrence Seaway Authority Commission are considered to be using the Great Lakes Water Transportation System.
       Establishments primarily engaged in providing coastal and/or Great Lakes barge transportation services are
       included in this industry.

       X        Barge transportation, coastal or Great Lakes (including St. Lawrence Seaway)
       X        Coastal freight transportation to and from domestic ports
       X        Coastal shipping of freight to and from domestic ports
       X        Deep sea freight transportation to or from domestic ports (including Puerto Rico)
       X        Freight shipping on the Great Lakes system (including St. Lawrence Seaway)
       X        Freight transportation, deep sea, to and from domestic ports
       X        Great Lakes freight transportation (including St. Lawrence Seaway)
       X        Intercoastal freight transportation to and from domestic ports
       X        Lake freight transportation, Great Lakes (including St. Lawrence Seaway)
       X        Ship chartering with crew, coastal or Great Lakes freight transportation (including St. Lawrence Seaway)
       X        Shipping freight to and from domestic ports (i.e., coastal, deep sea (including Puerto Rico), Great Lakes
                system (including St. Lawrence Seaway))
532412 ‐ Construction, Mining, and Forestry Machinery and Equipment Rental and Leasing
       This U.S. industry comprises establishments primarily engaged in renting or leasing heavy equipment without
       operators that may be used for construction, mining, or forestry, such as bulldozers, earthmoving equipment, well‐
       drilling machinery and equipment, or cranes.
               Bulldozer rental or leasing without operator
               Construction form rental
               Construction machinery and equipment rental or leasing without operator
       X       Crane rental or leasing without operator
               Earth moving equipment rental or leasing without operator
               Forestry machinery and equipment rental or leasing
               Heavy construction equipment rental without operator
               Logging equipment rental or leasing without operator
               Mining machinery and equipment rental or leasing
       X       Oil field machinery and equipment rental or leasing
       X       Oil well drilling machinery and equipment rental or leasing
               Welding equipment rental or leasing
       X       Well drilling machinery and equipment rental or leasing
541330 ‐ Engineering Services




                                                    14/19


                                                                                                                        026626
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 16 of 20



       This industry comprises establishments primarily engaged in applying physical laws and principles of engineering in
       the design, development, and utilization of machines, materials, instruments, structures, processes, and systems.
       The assignments undertaken by these establishments may involve any of the following activities: provision of
       advice, preparation of feasibility studies, preparation of preliminary and final plans and designs, provision of
       technical services during the construction or installation phase, inspection and evaluation of engineering projects,
       and related services.
               Acoustical engineering consulting services
               Acoustical system engineering design services
               Boat engineering design services
               Chemical engineering services
               Civil engineering services
               Combustion engineering consulting services
               Construction engineering services
               Consulting engineers' offices
               Consulting engineers' private practices
               Electrical engineering services
               Engineering consulting services
               Engineering design services
               Engineering services
               Engineers' offices
               Engineers' private practices
       X       Environmental engineering services
               Erosion control engineering services
       X       Geological engineering services
       X       Geophysical engineering services
               Heating engineering consulting services
               Industrial engineering services
               Logging engineering services
       X       Marine engineering services
               Mechanical engineering services
       X       Mining engineering services
       X       Petroleum engineering services
               Traffic engineering consulting services
541360 ‐ Geophysical Surveying and Mapping Services
       This industry comprises establishments primarily engaged in gathering, interpreting, and mapping geophysical
       data. Establishments in this industry often specialize in locating and measuring the extent of subsurface resources,
       such as oil, gas, and minerals, but they may also conduct surveys for engineering purposes. Establishments in this
       industry use a variety of surveying techniques depending on the purpose of the survey, including magnetic surveys,
       gravity surveys, seismic surveys, or electrical and electromagnetic surveys.
       X       Aerial geophysical surveying services
       X       Electrical geophysical surveying services
       X       Electromagnetic geophysical surveying services
       X       Geological surveying services
       X       Geophysical mapping services
       X       Geophysical surveying services
       X       Gravity geophysical surveying services
       X       Magnetic geophysical surveying services
       X       Mapping services, geophysical
       X       Radioactive geophysical surveying services
       X       Remote sensing geophysical surveying services

                                                     15/19


                                                                                                                         026627
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 17 of 20



       X       Seismic geophysical surveying services
       X       Surveying services, geophysical
541690 ‐ Other Scientific and Technical Consulting Services
       This industry comprises establishments primarily engaged in providing advice and assistance to businesses and
       other organizations on scientific and technical issues (except environmental).
               Agricultural consulting services
               Agrology consulting services
               Agronomy consulting services
               Biological consulting services
       X       Chemical consulting services
               Dairy herd consulting services
               Economic consulting services
       X       Energy consulting services
               Entomology consulting services
       X       Geochemical consulting services
               Horticultural consulting services
               Hydrology consulting services
               Livestock breeding consulting services
               Motion picture consulting services
               Nuclear energy consulting services
               Physics consulting services
               Radio consulting services
       X       Safety consulting services
               Security consulting services
811310 ‐ Commercial and Industrial Machinery and Equipment (except Automotive and Electronic) Repair and
Maintenance
       This industry comprises establishments primarily engaged in the repair and maintenance of commercial and
       industrial machinery and equipment. Establishments in this industry either sharpen/install commercial and
       industrial machinery blades and saws or provide welding (e.g., automotive, general) repair services; or repair
       agricultural and other heavy and industrial machinery and equipment (e.g., forklifts and other materials handling
       equipment, machine tools, commercial refrigeration equipment, construction equipment, and mining machinery).
               Agricultural machinery and equipment repair and maintenance services
               Armature rewinding services (except on an assembly line or factory basis)
               Blade sharpening, commercial and industrial machinery and equipment
               Coil rewinding (except on an assembly line or factory basis)
       X       Commercial and industrial machinery repair and maintenance services
               Commercial refrigeration equipment repair and maintenance services
       X       Construction machinery and equipment repair and maintenance services
       X       Electric motor repair and maintenance services, commercial or industrial
               Electrical generating and transmission equipment repair and maintenance services
               Engine repair (except automotive, small engine)
               Farm machinery and equipment repair and maintenance services
               Food machinery repair and maintenance services
               Forestry machinery and equipment repair and maintenance services
               Forklift repair and maintenance services
               Foundry machinery and equipment repair and maintenance services
               Freezer, commercial, repair and maintenance services
       X       Heavy machinery and equipment repair and maintenance services
       X       Hydraulic equipment repair and maintenance services
       X       Industrial equipment and machinery repair and maintenance services

                                                    16/19


                                                                                                                       026628
 Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 18 of 20



                Industrial truck (e.g., forklifts) repair and maintenance services
                Machine tools repair and maintenance services
                Materials handling equipment repair and maintenance services
                Mechanical power transmission equipment repair and maintenance services
        X       Mining machinery and equipment repair and maintenance services
        X       Motor repair and maintenance services, commercial or industrial
                Paper making machinery repair and maintenance services
                Printing trade machinery repair and maintenance services
                Reconditioning shipping barrels and drums
                Refrigeration equipment repair and maintenance services, industrial and commercial‐type
                Rewinding armatures (except on an assembly line or factory basis)
                Service machinery and equipment repair and maintenance services
                Textile machinery repair and maintenance services
                Tractor, farm or construction equipment repair and maintenance services
                Truck refrigeration repair and maintenance services
                Welding repair services (e.g., automotive, general)


 II.    Industry Types Subject to Question Regarding Support Services to Oil & Gas Industry
        and Possible Review by Claims Administrator for Potential Moratoria Losses

For businesses the Claims Administrator determines fall within the following codes and descriptions
marked with an “x,” claimant must submit a sworn claim form answering this question: “In 2009, did
your business provide significant services, goods, and/or supplies to businesses in the offshore oil & gas
industry in the Gulf of Mexico?” If the claimant responds affirmatively, its claim shall be routed by the
Claims Administrator to a team dedicated to the evaluation of business economic loss claims for
potential moratoria losses. Claimant shall be required to provide supplemental information in order for
Claims Administrator to conduct this review.

 488310 ‐ Port and Harbor Operations
        This industry comprises establishments primarily engaged in operating ports, harbors (including docking and pier
        facilities), or canals.
        X        Canal maintenance services (except dredging)
        X        Canal operation
        X        Docking facility operations
        X         Harbor maintenance services (except dredging)
        X         Harbor operation
        X         Lighthouse operation
        X         Maintenance services, waterfront terminal (except dredging)
        X        Port facility operation
        X        Seaway operation
        X        Waterfront terminal operation (e.g., docks, piers, wharves)
        X        Wharf operation
 488320 ‐ Marine Cargo Handling
        This industry comprises establishments primarily engaged in providing stevedoring and other marine cargo
        handling services (except warehousing).
        X         Loading and unloading services at ports and harbors
        X         Longshoremen services
        X        Marine cargo handling services

                                                     17/19


                                                                                                                           026629
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 19 of 20



       X       Ship hold cleaning services
       X       Stevedoring services
488330 ‐ Navigational Services to Shipping
       This industry comprises establishments primarily engaged in providing navigational services to shipping. Marine
       salvage establishments are included in this industry.
       X       Cargo salvaging, marine
       X       Docking and undocking marine vessel services
       X       Harbor tugboat services
       X       Marine salvaging services
       X       Marine vessel traffic reporting services
       X       Piloting services, water transportation
       X       Radio beacon (i.e., ship navigation) services
       X       Tugboat services, harbor operation
541330 ‐ Engineering Services
       This industry comprises establishments primarily engaged in applying physical laws and principles of engineering in
       the design, development, and utilization of machines, materials, instruments, structures, processes, and systems.
       The assignments undertaken by these establishments may involve any of the following activities: provision of
       advice, preparation of feasibility studies, preparation of preliminary and final plans and designs, provision of
       technical services during the construction or installation phase, inspection and evaluation of engineering projects,
       and related services.
               Acoustical engineering consulting services
               Acoustical system engineering design services
               Boat engineering design services
       X       Chemical engineering services
               Civil engineering services
               Combustion engineering consulting services
       X       Construction engineering services
       X       Consulting engineers' offices
       X       Consulting engineers' private practices
       X       Electrical engineering services
       X       Engineering consulting services
       X       Engineering design services
       X       Engineering services
       X       Engineers' offices
       X       Engineers' private practices
               Environmental engineering services
               Erosion control engineering services
               Geological engineering services
               Geophysical engineering services
               Heating engineering consulting services
       X       Industrial engineering services
               Logging engineering services
               Marine engineering services
               Mechanical engineering services
               Mining engineering services
               Petroleum engineering services
               Traffic engineering consulting services
561990 ‐ All Other Support Services




                                                     18/19


                                                                                                                         026630
Case 2:10-md-02179-CJB-DPC Document 6430-37 Filed 05/03/12 Page 20 of 20



        This industry comprises establishments primarily engaged in providing day‐to‐day business and other
        organizational support services (except office administrative services, facilities support services, employment
        services, business support services, travel arrangement and reservation services, security and investigation
        services, services to buildings and other structures, packaging and labeling services, and convention and trade
        show organizing services). Illustrative Examples: Bartering services Flagging (i.e., traffic control) services Bottle
        exchanges Float decorating services Cloth cutting, bolting, or winding for the trade Inventory taking services
        Contract meter reading services Lumber grading services Diving services on a contract or fee basis.
               Auctioneers, independent
               Bartering services
               Bottle exchanges
               Cloth cutting, bolting, or winding for the trade
               Coin pick‐up services, parking meter
               Coupon processing services
               Coupon redemption services (i.e., clearinghouse)
       X       Diving services on a contract or fee basis
               Document shredding services
               Electrical meter reading services, contract
               Fire fighting services as a commercial activity
               Flagging (i.e., traffic control) services
               Float decorating services
               Gas meter reading services, contract
               Inventory computing services
               Inventory taking services
               License issuing services (except government), motor vehicle
               Locating underground utility lines prior to digging
               Lumber grading services
               Meter reading services, contract
               Motor vehicle license issuing services, private franchise
               Printing brokers
               Private volunteer fire fighting
               Tape slitting (e.g., cutting plastic or leather into widths) for the trade
               Textile cutting services
               Trading stamp promotion and sale to stores
               Trading stamp redemption services
722310 ‐ Food Service Contractors
       This industry comprises establishments primarily engaged in providing food services at institutional, governmental,
       commercial, or industrial locations of others based on contractual arrangements with these type of organizations
       for a specified period of time. The establishments of this industry provide food services for the convenience of the
       contracting organization or the contracting organization's customers. The contractual arrangement of these
       establishments with contracting organizations may vary from type of facility operated (e.g., cafeteria, restaurant,
       fast‐food eating place), revenue sharing, cost structure, to providing personnel. Management staff is always
       provided by the food service contractors.
               Airline food services contractors
               Cafeteria food services contractors (e.g., government office cafeterias, hospital cafeterias, school
               cafeterias)
               Food concession contractors (e.g., convention facilities, entertainment facilities, sporting facilities)
               Food service contractors, airline
               Food service contractors, cafeteria
               Food service contractors, concession operator (e.g., convention facilities, entertainment facilities, sporting
               facilities)
       X       Industrial caterers (i.e., providing food services on a contractural arrangement (except single‐event basis))

                                                       19/19


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